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16
                             UNITED STATES DISTRICT COURT
17                         SOUTHERN DISTRICT OF CALIFORNIA
18
     MS. L, et al.,                                 Case No. 18cv428 DMS MDD
19
                      Petitioners-Plaintiffs,
20
           vs.                                      ORDER
21
22 U.S. IMMIGRATION AND CUSTOMS
   ENFORCEMENT, et al.,
23
               Respondents-Defendants.
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28                                              1                      18cv428 DMS MDD


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            UPON CONSIDERATION of Defendants’ MOTION FOR A STAY OF CASE
 1
 2 DEADLINES IN LIGHT OF LAPSE OF APPROPRIATIONS, and for good cause shown, it
 3 is hereby
 4          ORDERED that Defendants’ motion be, and hereby is, GRANTED. All deadlines in this
 5 case are hereby stayed until further order of this Court. Defendants will notify the Court as soon
 6
     as Congress has appropriated funds for the Department.
 7
            SO ORDERED.
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 9    Dated: December 27, 2018

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